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VIA ECF
Vernon S. Broderick, United States District Judge
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square, Courtroom 518
New York, New York 10007                                                                     May 6, 2020


         Re:       Rafael Sanchez v. R.Q. Realty Mgt. Ltd. and Raul Quiroz
                   Case No. 19-cv-05599 (VSB) – Request to Remove Counsel


Dear Judge Broderick:

        We write to request that Defendants’ counsel, Robert D. Lipman, be removed as counsel
in this matter. Tragically, Mr. Lipman recently passed away due to the pandemic.

       Thank you.

                                                                               Very truly yours,

                                                                                   /s/

                                                                               David A. Robins


DAR/imf

cc: Michael Taubenfeld, Esq. (via ECF)
